Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 1 of 7




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.: 0-20-CV-61872-AHS

                                               Judge Raag Singhal

  ALAN DERSHOWITZ,

                             Plaintiff,

  vs.

  CABLE NEWS NETWORK, INC.,

                    Defendant.
  __________________________________/

                PLAINTIFF’S REPLY TO CNN’S RESPONSE TO PLAINTIFF’S
            OBJECTIONS TO MAGISTRATE JUDGE HUNT’S NOVEMBER 28 ORDER

              There are only two arguments in CNN’s turgid response to Professor Dershowitz’

  objections to the Magistrate Judge’s Order of November 28, 2022, that warrant a reply. The first

  is that Professor Dershowitz should have raised his objections in an appeal from the Magistrate

  Judge’s Order of November 10, 2022.1 The second is that, because the funds contributed to the

  Alan Dershowitz Legal Defense Trust to help Professor Dershowitz defend himself against the

  accusations of Victoria Guiffre are “commingled,” it follows that “all the individual funders of

  the Trust are effectively funding this action.”2 Neither has any merit.

              A. Professor Dershowitz Complied with the Order of November 10

              First, CNN does not and cannot deny that, in Interrogatory No. 7, which is at the heart of

  the present controversy, CNN asked Professor Dershowitz to “[i]dentify any non-party Person or




  1
      CNN Response to Plaintiff’s Objections to Magistrate Judge Hunt’s November 28 Order (“CNN Resp.”) 7-9.
  2
      Id. at 11.


                                                          1
Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 2 of 7




  entity that has provided or is providing financial support for this Action (including but not

  limited to payment of attorneys’ fees and costs) and/or that has a financial interest in the outcome

  of this Action” (emphasis added). That alone puts the lie to CNN’s assertion that, “[t]hroughout

  this dispute, CNN has consistently and repeatedly requested that Plaintiff disclose all funders of

  the Trust (emphasis in the original).3 It is not “contorted semantics”4 but the verifiable truth to

  say that CNN limited the scope of Interrogatory No. 7 to the identity of funders of this Action.

              Similarly, CNN does not and cannot deny that, in its motion to compel, CNN repeatedly

  stated that the purpose of its motion was to obtain information about the funding for “this

  litigation” or “this case” or “this lawsuit.”5 The Magistrate Judge, too, noted in his Order of

  November 10, 2022, that CNN was “seeking to have Plaintiff supplement his answers as to the

  individuals funding “this litigation” (emphasis added) because information about such

  individuals might illuminate Professor Dershowitz’ motivation in pursuing “the litigation”

  (emphasis added).6

              Therefore, as a matter of law, the Magistrate Judge was barred from granting relief on

  CNN’s motion to compel that exceeded the scope of Interrogatory No. 7. Professor Dershowitz

  cited two decisions by this Court and five decisions by other courts across the country that have

  so held.7 CNN neither mentions nor attempts to refute any of them. E.g., Howard v. Hartford

  Life & Acc. Ins. Co., No. 3:10-CV-192-J-34TEM, 2012 WL 3069384, at *7 (M.D. Fla. July 26,


  3
      CNN Resp. at 11.

  4
      Id. at 1.
  5
      See id. at 4.
  6
      See id. at 5.
  7
   Plaintiff’s Objections to Magistrate Judge’s Order ‘Clarifying’ Prior Order on Defendant’s Motion to Compel (“Pl.
  Obj.”) at 7-8.



                                                          2
Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 3 of 7




  2012) (it was “clear error” for magistrate judge to interpret plaintiff’s motion to compel to seek

  documents beyond the scope of those requested in plaintiff’s request to produce).

         It was in this context that Professor Dershowitz had no problem with the Magistrate

  Judge’s Order of November 10, 2022. The Magistrate Judge ordered him to disclose “[t]he

  names of any person or entity who donated to the Alan Dershowitz Legal Defense Trust or who

  otherwise has provided or is providing financial support for this action.” Had the Magistrate

  Judge not inserted the word “otherwise” in that sentence, it could have been read to require

  Professor Dershowitz to disclose both the names of all donors to the Trust and the names of

  those providing financial support to the present case. However, in the context of the limited

  scope of Interrogatory No. 7 and the limited scope of CNN’s motion to compel, Professor

  Dershowitz properly understood the Magistrate Judge’s insertion of the word “otherwise” to

  compel him to identify only those who provided financial support for “this action,” either via the

  Alan Dershowitz Legal Defense Trust or “otherwise,” via some other means. Professor

  Dershowitz was willing to and did comply with the Magistrate Judge’s Order as he reasonably

  understood it, and he had no basis to appeal it.

         However, all that changed with the Magistrate Judge’s Order of November 28, 2022. In

  the guise of “clarifying” his Order of November 10, 2022, the Magistrate Judge in fact amended

  it by requiring Professor Dershowitz to disclose the identities of all those who contributed to the

  Trust, regardless of whether those contributions were used for the present case or the Guiffre

  litigation. In doing so, the Magistrate Judge committed “clear error” not only by granting relief

  beyond the scope of Interrogatory No. 7, as established in the cases Professor Dershowitz cited,

  but also by compelling the production of financial information related entirely to another case.




                                                     3
Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 4 of 7




  Nowhere in its response does CNN cite any authority supporting such a compelled disclosure,

  and there is none. That is why Professor Dershowitz is appealing the Order of November 28.

              Perhaps recognizing that there is no authority for the Magistrate Judge’s Order of

  November 28, CNN characterizes Professor Dershowitz’ response to the Magistrate Judge’s

  Order of November 10 as a “violation” of that Order.8 Coupling that with a false claim that

  Professor Dershowitz “has persistently dissembled, delayed, and obfuscated,”9 and in reliance

  on Whitesell Corp. v. Electrolux Home Prod., Inc., Case CV 103-05, 2019 WL 637776 (S.D. Ga.

  Feb. 14, 2019) – which it says bears a “striking” similarity to the present case10 – CNN attempts

  to classify the Magistrate Judge’s Order of November 28 as an appropriate “sanction( )” for

  Professor Dershowitz’ alleged misconduct.11

              However, as shown above, Professor Dershowitz did not violate the Magistrate Judge’s

  Order of November 10. On the contrary, he fully complied with it as he reasonably understood

  its requirements.

              This case is nothing like Whitesell, where defendants moved for and obtained from the

  district court a sanction under Fed. R. Civ. P. 37 for plaintiff’s violation of the court’s discovery

  order. The court in Whitesell found that plaintiff “clearly and unequivocally” understood what

  the court had ordered it to produce in discovery, and plaintiff’s failure to comply with that order

  was “willful” and in “bad faith.” Whitesell, 2019 WL 637776, at *5. If CNN had anything more

  than false accusations and overblown rhetoric to show that Professor Dershowitz had violated the



  8
      CNN Resp. at 1, 6.
  9
      Id. at 1.
  10
       Id. at 13.
  11
       Id. at 13-14.



                                                      4
Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 5 of 7




  Magistrate Judge’s Order of November 10, it could have and would have moved for sanctions

  under Fed. R. Civ. P. 37(c)(4). CNN did not do so, and the Magistrate Judge did not designate

  his Order of November 28 as a sanction under that Rule. That Order is simply wrong, which is

  why Professor Dershowitz has challenged it.

              B. All the Funders of the Trust Are Not Funding the Present Action

              Second, CNN alternatively attempts to defend the Order of November 28 as requiring

  only the identification of funders of the present action. CNN tries to achieve this feat by

  claiming that “all the individual funders of the Trust are effectively funding this action.”12 The

  asserted basis for this claim is that “all the individuals’ funds are commingled in the Trust.”13

  However, this claim is preposterous.

              As Professor Dershowitz has explained in his uncontested Declaration,14 the Alan

  Dershowitz Legal Defense Trust was established in 2014 by friends and colleagues of his for the

  exclusive purpose of helping him defend himself against the false accusations of Victoria Guiffre

  and the ensuing litigation. Professor Dershowitz promised anonymity to the Trust donors for

  very good reasons.15 Those donors obviously could not have known that six years later, in 2020,

  Professor Dershowitz would file this action against CNN, nor could they possibly have intended

  to contribute funds to support that future action.

              The fact that, after Professor Dershowitz brought this action against CNN, three of the

  donors to the Trust were asked and agreed to allow their Trust donations to be used to support




  12
       CNN Resp. at 11.
  13
       Id.
  14
       Exh. A to Pl. Obj., Dershowitz Dec. ¶ 2.
  15
       Id. at ¶¶ 4-5.


                                                       5
Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 6 of 7




  this action has zero effect on the status of the other donors to the Trust who were not asked and

  did not agree to allow their Trust donations to be used to support this action. There was

  “commingling” of the funds in the Trust, nor was there any “commingling” of the donors. On

  the contrary, it as if Professor Dershowitz established two trusts, one for the Guiffre litigation

  and one of this action. No one plausibly could argue that, if Professor Dershowitz had in fact

  established two trusts, one for the Giuffre litigation and one for this case, financial information

  about donors to the Guiffre trust would be relevant and discoverable in this case.

             CNN’s paranoiac “suspicion” that “Plaintiff’s funders have an ulterior motive for this

  litigation”16 does not render relevant to this case CNN’s request for financial information about

  donors and donations to the Alan Dershowitz Legal Defense Trust for the Guiffre litigation.

  Because that information is not relevant to this case, even CNN must acknowledge that the

  Magistrate Judge’s Order of November 28 compelling Professor Dershowitz to provide such

  information also violates Professor Dershowitz’ privacy rights under the Florida Constitution.17

  That Order is clearly erroneous and the Court should vacate it.




  16
       CNN Resp. at 6.
  17
    See id. at 15, where CNN acknowledges that, under the Florida Constitution, “the right to privacy in financial
  information is overcome” only “when that information is relevant” to the case at hand. And contrary to CNN’s
  assertion, Professor Dershowitz made this constitutional argument to the Magistrate Judge in its brief opposing
  CNN’s motion.


                                                           6
Case 0:20-cv-61872-AHS Document 284 Entered on FLSD Docket 12/20/2022 Page 7 of 7




  Dated: December 20, 2022                     Respectfully submitted,


                                                /s/ Mark A. Schweikert
                                                Mark A. Schweikert (FBN 70555)
                                                SCHWEIKERT LAW PLLC
                                                1111 Brickell Avenue, Suite 1550
                                                Miami, FL 33131
                                                Tel: (305) 999-1906
                                                mark@schweikertlaw.com

                                                John B. Williams (pro hac vice)
                                                WILLIAMS LOPATTO PLLC
                                                1629 K Street, N.W., Suite 300
                                                Washington D.C. 20006
                                                Tel: (202) 296-1665
                                                jbwilliams@williamslopatto.com
                                                fnkitton@williamslopatto.com

                                                Neil H. Koslowe (pro hac vice)
                                                POTOMAC LAW GROUP, PLLC
                                                1300 Pennsylvania Avenue, N.W., Suite 700
                                                Washington D.C. 20004
                                                Tel: (202) 320-8907
                                                nkoslowe@potomaclaw.com

                                               Counsel for Plaintiff Alan Dershowitz

                                  CERTIFICATE OF SERVICE

         I hereby certify that, on December 20, 2022, I electronically filed the foregoing document

  with the Clerk of Court using the CM/ECF filing system, and that the foregoing document was

  served on all counsel of record via transmission of the Notice of Electronic Filing generated by

  the Court’s CM/ECF system.

                                                                   /s/ Mark A. Schweikert________




                                                  7
